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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATE OF AMERICA

      v.                                                     DECISION AND ORDER
                                                                12-CR-45S (6)
GABRIEL RODRIGUEZ,

                    Defendant.


      On March 7, 2016, Defendant Gabriel Rodriguez moved to dismiss the

indictment against him, which charges conspiracy to possess with intent to distribute

and to distribute marijuana in violation of 21 U.S.C. § 846.          (Docket No. 252.)

Rodriguez seeks dismissal on the grounds that the continued classification of marijuana

as a Schedule I controlled substance violates his constitutional rights. Briefing of the

motion concluded on May 3, 2016.

      Before the filing and briefing of this motion, Rodriguez’s lawyer raised the same

issues in a nearly identical motion on behalf of a similarly situated defendant before the

Honorable Jonathan W. Feldman, United States Magistrate Judge, Western District of

New York. (See United States v. Alexander Green, et al., 14-CR-6038W, Docket No.

82.) It was therefore agreed that the interests of judicial economy were best served by

awaiting Judge Feldman’s Report and Recommendation in Green, as well as any

objection proceedings before the assigned district judge, the Honorable Elizabeth A.

Wolford, before proceeding to resolution of Rodriguez’s motion.

      On June 27, 2016, Judge Feldman issued a thorough and comprehensive Report

and Recommendation recommending that Green’s motion be denied. (Green, 14-CR-

6038W, Docket No. 157.)        Judge Wolford adopted Judge Feldman’s Report and
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Recommendation over Green’s objection in an equally thorough and well-reasoned

decision on December 7, 2016. (Green, 14-CR-6038W, Docket No. 199. 1)

         At the status conference on January 18, 2017, this Court discussed Judge

Feldman’s Report and Recommendation and Judge Wolford’s decision with counsel

and advised that it would be adopting the reasoning, findings, and conclusions therein

to deny Rodriguez’s motion. (Docket No. 299.) In short, this Court joins its colleagues

in concluding that the continued classification of marijuana as a Schedule I controlled

substance does not violate a defendant’s due process or equal protection rights under

the Fifth Amendment or violate the equal sovereignty doctrine under the Tenth

Amendment. For the same reasons articulated in those opinions, both of which this

Court adopts, Rodriguez’s Motion to Dismiss is denied.



         IT HEREBY IS ORDERED, that Defendant’s Motion to Dismiss (Docket No. 252)

is DENIED.

         SO ORDERED.


Dated:         March 6, 2017
               Buffalo, New York


                                                              /s/William M. Skretny
                                                               WILLIAM M. SKRETNY
                                                             United States District Judge




1
 Judge Wolford’s decision is reported at United States v. Green, 6:14-CR-06038 EAW, 2016 WL 7163587
(W.D.N.Y. Dec. 7, 2016).
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